                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:10-00004
                                                )           JUDGE CAMPBELL
KATHY MEDLOCK                                   )


                                            ORDER

       Pending before the Court is the Defendant’s 3rd Motion For Extension To Self-Report

(Docket No. 394). Through the Motion, the Defendant seeks a two- to six-week extension to

self-report to the Bureau of Prisons to allow her to provide care for her husband, Co-defendant

Woody Medlock, Sr., and to taper off her current medications. The Government has filed a

Response (Docket No. 395) objecting to the request.

       The Motion is DENIED. The Motion is untimely. Co-Defendant Woody Medlock has

other adequate alternatives for obtaining assistance with his health care. The Bureau of Prisons

can adequately address the Defendant’s medical issues.

       It is so ORDERED.



                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




 Case 3:10-cr-00004       Document 396        Filed 03/14/14      Page 1 of 1 PageID #: 3209
